No good cause for the issuance of a writ appears. The question of insufficiency of evidence to warrant conviction cannot be considered on habeas corpus. Subdivision 7 of section1487 of the Penal Code, authorizing a discharge on habeascorpus "where a party has been committed on a criminal charge without reasonable or probable cause," is applicable only where a person has been committed for trial by a magistrate without reasonable or probable cause. The complaint in the police court sufficiently stated facts constituting the offense of petit larceny (Pen. Code, secs. 484 and 488). The words "by trick and device" do not impair their effect in this regard. The judgment shows a conviction of the crime of petit larceny. If the evidence adduced on the trial was not sufficient to show the guilt of the prisoner of that charge, his remedy was by appeal.
The application for a writ of habeas corpus is denied.